                    IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION
                             Case No. 3:05-CR-277-9

UNITED STATES OF AMERICA,           )
                                    )
      v.                            )                ORDER ALLOWING
                                    )                GOVERNMENT’S WRITS
                                    )                OF EXECUTION
PETER ISKANDER                      )
____________________________________)

       This matter was on for hearing regarding the United States’ Writs of Execution as to accounts

held by Defendant at Bank of America (Docket Entry 594) and Emigrant Direct/Emigrant Bank

(Docket Entry 596). A hearing was held before this Court on August 1, 2008, wherein the United

States and the Defendant were both present and represented by counsel. Counsel for the government

and for Defendant agreed that the two Writs of Execution were valid and proper and that the

applications for writs of execution should be granted and finalized. Based upon the arguments at

hearing and a review of the pleadings and docket, it is therefore, ORDERED, ADJUDGED AND

DECREED as follows:

       1.      The government’s writ of execution as to Bank of America is valid and proper and

there is no objection by Defendant thereto. The writ of execution is, therefore, allowed.

       2.      The government’s writ of execution as to Emigrant Direct/Emigrant Bank is valid

and proper and there is no objection by Defendant thereto. The writ of execution is, therefore,

allowed.

       3.      Defendant filed exemption requests as to both writs of execution. Neither writ

involved assets subject to exemption. The exemptions as authorized by statute are allowed.



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        4.     Defendant contends the amount of restitution in the original judgment (Docket Entry

471) was entered in error. Defendant intends to raise the issue before the appropriate presiding judge

by separate motion. Therefore, the proceeds in the amount of $13,800.00 from the writ of execution

issued on December 5, 2007, against property at Bank of America Corporation in the name of Peter

Iskander will be deposited with the Clerk of Court in an interest-bearing account pending resolution

of future motions being filed by the Defendant.

        5.   Similarly, the proceeds in the amount of $40,321.91 from the writ of execution issued

on December 5, 2007, against property at Emigrant Direct, a division of Emigrant Bank, in the name

of Peter Iskander will be deposited with the Clerk of Court in an interest-bearing account pending

resolution of future motions being filed by the Defendant.

        6.     Upon receipt of this Order, the Clerk of the Court, as soon as the business of his

office allows, will place the said funds in an interest-bearing account at the prevailing rate of

interest. In return, the Clerk is to receive an indicia of ownership of a money market account payable

to:            United States District Court
               for the Western District of North Carolina
               Clerk of Court, Trustee
               Criminal Action No. 3:05CR277-9

The initial investment and any interest earned thereon will be subject to the collateral provisions of

Treasury Circular 176, if applicable.

        7.     The government will serve a copy of this Order upon the Clerk or the Financial

Deputy Clerk. The funds mentioned above will remain deposited in the Registry of the Court until

further order of this Court.

        8.     If Defendant has not filed the motion referenced in Paragraph 4 above within thirty



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(30) days of the entry of this Order, the Court will presume Defendant does not intend to file such

a motion and the Clerk of Court shall distribute the funds referenced herein in accordance with the

judgment of record in this matter.



                                                Signed: August 20, 2008




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